






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-99-00776-CV






In the Matter of J. R. C.







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT


NO. J-15,320, HONORABLE W. JEANNE MEURER, JUDGE PRESIDING 







	The State charged that J.R.C., a juvenile, committed the offense of possession of
cocaine.  See Tex. Health &amp; Safety Code Ann. § 481.115(d) (West Supp. 2000).  After overruling
his motion to suppress evidence, the district court sitting as a juvenile court adjudicated J.R.C.
to have engaged in delinquent conduct and ordered that he be placed in the custody of the Texas
Youth Commission.  Appellant argues that police conducted an illegal search when they identified
his car by pushing the remote control device attached to his keys.  We overrule the contention and
affirm the juvenile court's adjudication and disposition orders.  


Background


	Austin Police Officers Scott Perry and Billy Hurst testified at the suppression
hearing.  On July 24, 1999, at about 2:30 a.m., Officer Perry responded to a 911 call from the
South Congress Motor Inn in Austin.  A security guard suspected that a female staying in one of
the motel rooms was a juvenile runaway.  Officer Perry arrived and spoke with the suspected
runaway.  Officer Hurst arrived soon after and spoke with appellant, allegedly the suspected
runaway's boyfriend.  Both officers knew the motel was a high crime area from which the police
receive many calls regarding violence and drug incidents.  Given the late hour, the location, and
appellant's nervous appearance, Officer Hurst frisked him for weapons.  While doing so, he
noticed that appellant had keys shoved into his shoe.  The officer asked if he could hold the keys
and appellant responded, "No problem."  Officer Hurst explained that for safety reasons he felt
more comfortable holding the keys because a key may be used to stab one in the face.  Officer
Hurst asked if appellant had a car in the area and he said, "No."  Officer Hurst shoved the keys
into his waistline behind his utility belt and asked appellant for identification.  Appellant said he
had none but gave his name and birthday first to Officer Hurst and again to Officer Perry. 

	Appellant gave his correct name, said that his birthday was January 18, 1980, and
told Officer Perry that he was eighteen years old.  Officer Perry informed him that if he had given
his correct birthday, he must not be eighteen years old.  Appellant insisted that was his birthday
and that he was eighteen years old.  Officer Perry ran a check through the police computer which
indicated that appellant was born in 1983 and that he had had several dealings with the police. 
Appellant denied having had any contact with the police and insisted that the computer information
must be wrong.  Officer Perry handcuffed appellant, arrested him for failure to identify himself,
and placed him in the patrol car. 

	After appellant was arrested, Officer Hurst began pushing the buttons on the remote
device attached to appellant's keys.  He heard the chirping sound of car doors unlocking about
four spaces away.  He went to the chirping car and looked inside.  He saw that the steering
column was "busted on the side," a sign that the car was stolen, and he saw a plastic bag partially
under the front armrest that contained what looked like cocaine.  Officer Hurst inquired about the
car and the drugs.  Appellant denied knowing anything about the drugs and said that the car
belonged to his mother.  The officers impounded the car.  Officer Perry drove appellant to the
juvenile detention hall where he was charged with possession of cocaine.  

	Appellant filed a motion to suppress the evidence contending that when Officer
Hurst pressed the buttons on the key remote he was conducting an illegal search.  The juvenile
court overruled the motion to suppress.  Appellant challenges this ruling in a single issue on
appeal.


Discussion


	We conduct a bifurcated review of a suppression hearing, giving almost total
deference to the trial court's findings of fact but conducting a de novo review of the court's
application of law to those facts.  See Carmouche v. State, 10 S.W.3d 323, 327 (Tex. Crim. App.
2000) (citing Guzman v. State, 955 S.W.2d 85, 88-89 (Tex. Crim. App. 1999)).  In reviewing
the factual basis for the trial court's ruling, we view the evidence in a light most favorable to the
ruling.  See id.  In a suppression hearing, the trial court is the sole trier of fact and judge of the
credibility of the witnesses and the weight to be given their testimony.  See State v. Ballard, 987
S.W.2d 889, 891 (Tex. Crim. App. 1999).  We assume the trial court made reasonable factual
inferences and made "implicit findings of fact supported in the record that buttress its
conclusion."  Carmouche, 10 S.W.3d at 327.  We then review de novo the trial court's application
of the law to the facts.  See id.  

	The first issue is whether the act of pushing buttons on a car key remote control
in this instance was sufficiently intrusive to constitute a search.  The State contends that it was
not.  Not every act that results in the discovery of evidence is a search.  The detection of
contraband by a trained dog is not a search within the meaning of the Fourth Amendment.  See
United States v. Place, 462 U.S. 696, 707 (1983); Hill v. State, 951 S.W.2d 244, 250 (Tex.
App.--Houston [14th Dist.] 1997, no pet.)  A canine sniff is much less intrusive than a typical
search and the information obtained is limited to the presence of contraband.  See Place, 462 U.S.
at 707.  In this case, pushing the button on the remote device allowed the officer to identify the
responding car but did not expose anything hidden from view.  The only information obtained was
the presence and location of a car under appellant's control.  We hold that this detection and
identification of appellant's car is less intrusive than a search as defined by the Fourth
Amendment.

	Even if pushing the button on the car's remote control was sufficiently intrusive
to constitute a search, appellant has failed to show that the officers invaded a protected privacy
interest.  The car was located in an open parking lot and was not hidden from view.  Activating
the remote only led to the identification of the car after appellant had denied having a car in the
area.  Officer Hurst did not enter onto any property in which appellant had a protected privacy
interest until after he observed the cocaine in plain view through the car window.

	Even assuming that appellant had a privacy interest that was violated, the officer's
action in pressing the remote control buttons and identifying the location of the car was reasonable
in light of the circumstances:  appellant consented to the officer's taking possession of the keys;
he lied about his age and about not having had any previous run-ins with the police; he lied about
having a car in the area; and he was in the company of a female juvenile runaway at 2:30 a.m.
in a motel known to be a common site for drug transactions.  The juvenile court properly
overruled the motion to suppress.  Appellant's contention is overruled, and the juvenile court's
adjudication and disposition orders are affirmed.



	                                                                       


	Bea Ann Smith, Justice

Before Chief Justice Aboussie, Justices Kidd and B. A. Smith

Affirmed

Filed:   August 10, 2000

Publish



vice attached to appellant's keys.  He heard the chirping sound of car doors unlocking about
four spaces away.  He went to the chirping car and looked inside.  He saw that the steering
column was "busted on the side," a sign that the car was stolen, and he saw a plastic bag partially
under the front armrest that contained what looked like cocaine.  Officer Hurst inquired about the
car and the drugs.  Appellant denied knowing anything about the drugs and said that the car
belonged to his mother.  The officers impounded the car.  Officer Perry drove appellant to the
juvenile detention hall where he was charged with possession of cocaine.  

	Appellant filed a motion to suppress the evidence contending that when Officer
Hurst pressed the buttons on the key remote he was conducting an illegal search.  The juvenile
court overruled the motion to suppress.  Appellant challenges this ruling in a single issue o